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 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                          2:15-CR-205 TLN-EFB
11
                                  Plaintiff,            MOTION TO EXTEND TIME TO RESPOND TO
12                                                      JANUARY 18, 2019
                            v.
13
     MATTHEW MULLER,
14
                                 Defendant.
15

16          The government respectfully requests until that it be granted until January 18, 2019 to file any

17 opposition to the defendant’s recent filings: the defendant’s Motion to Amend Motion to Vacate

18 Sentence (Dkt. 75), Objections to Findings and Recommendations (Dkt. 76), “First Amended

19 Supplement to Motion to Vacate Sentence” (Dkt. 77), and litigant letter (Dkt. 78).

20          On September 29, 2016, the defendant pleaded guilty to a single count of kidnapping. Dkt. 39.

21 The plea agreement contained a waiver of collateral attack. Dkt. 43 at 8. On March 16, 2017, the Court

22 sentenced the defendant to forty years imprisonment. Dkt. 59. On March 22, 2017 the Court entered

23 judgment. Dkt. 60.

24          On March 30, 2018 (according to his declaration), the defendant mailed his section 2255 motion.

25 Dkt. 61 at 12. On April 9, 2018, the clerk filed the motion on the docket. Dkt. 61. On April 11, 2018,

26 this Court referred the matter to the magistrate court for review. Dkt. 64. On July 18, 2018, pursuant to

27 its duties under Rule 4 of the Rules Governing Section 2255 Proceedings, the magistrate judge entered

28 findings and recommendations. Dkt. 65. The F&Rs would dismiss all of the defendant’s claims, but


      GOVERNMENT’S REQUEST FOR EXTENSION OF TIME
 1 would allow the defendant to proceed “on his claims that his plea was not knowing and voluntary and

 2 that his counsel was ineffective in advising him to accept the plea agreement.” Dkt. 65 at 1. The F&Rs

 3 gave each party fourteen days to object. Dkt. 65 at 10.

 4          The defendant received two continuances. Dkt. 67, 72. Then, about four months after the

 5 magistrate court filed its F&Rs, on November 13, 2018, the clerk filed on ECF what appear to be the

 6 defendant’s motion to amend his section 2255 motion, objections to the F&Rs, a “First Amended

 7 Supplement” to his section 2255 motion, and an explanatory letter. Dkt. 75-78. Together, the

 8 defendant’s filings are somewhat voluminous.

 9          The magistrate judge was proceeding under EDCA Loc. R. 302(c)(17) and 18 U.S.C.

10 § 636(b)(1)(B), which together assign collateral attacks to magistrate judges for findings and

11 recommendations. By default, the objecting party has fourteen days to seek reconsideration by this

12 Court and any opposition must be filed within seven days after that. EDCA Loc. R. 303(b), 303(d).

13          The Government cannot prepare and file a helpful response to these voluminous pleadings within

14 seven days of their filing. It may be that the magistrate judge’s well-reasoned findings and

15 recommendations require very little further elaboration, but the defendant has also filed a motion to

16 supplement his section 2255 motion that the government would like an opportunity to respond to in

17 adequate time.

18          For the foregoing reasons, the government respectfully requests that it be granted until January

19 18, 2019 to file an opposition to the defendant’s motion to amend his section 2255 motion, objections to

20 the F&Rs, his “First Amended Supplement” to his section 2255 motion, and his explanatory letter, that
21 is, docket entries 75 through 78.

22                                                           Respectfully submitted,

23    Dated: November 19, 2018                               MCGREGOR W. SCOTT
                                                             United States Attorney
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25                                                    By: /s/ Matthew D. Segal
                                                          MATTHEW D. SEGAL
26                                                        HEIKO P. COPPOLA
                                                          Assistant U.S. Attorneys
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      GOVERNMENT’S REQUEST FOR EXTENSION OF TIME
